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 5                        UNITED STATES DISTRICT COURT
 6                     SOUTHERN DISTRICT OF CALIFORNIA
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 8   UNITED STATES OF AMERICA,                 CASE NO.: 20CR2636-JLS-01
 9                      Plaintiff,             ORDER CONTINUING STATUS
                                               HEARING
10         v.
11   WALTER LUNA SIORDIA,
12                      Defendant.
13
14         JOINT MOTION HAVING BEEN ENTERED by the parties, and
15         GOOD CAUSE appearing, IT IS HEREBY ORDERED, that defendant’s
16   Status Hearing of November 19, 2021 at 1:30 p.m. be continued to February 18,
17   2022 at 1:30 p.m. before the Honorable Janis L. Sammartino. Defendant shall
18   file an acknowledgement of the new hearing date by November 30, 2021.
19         For the reasons set forth in the joint motion, the Court finds that the ends of
20   justice will be served by granting the requested continuance, and these outweigh
21   the interests of the public and the defendant in a speedy trial. Accordingly, the
22   delay occasioned by this continuance is excludable pursuant to 18 U.S.C. §
23   3161(h)(7)(A).
24         IT IS SO ORDERED.
25   Dated: November 16, 2021
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